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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

__________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS                       Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND                                                 MDL No. 2570
PRODUCTS LIABILITY LITIGATION
__________________________________________

This Document Relates to:

Alex Souza

Civil Case # 1:21-cv-06443-RLY-TAB
__________________________________________

                          MOTION FOR LEAVE TO FILE
                    SECOND AMENDED SHORT FORM COMPLAINT

       Plaintiff Alex Souza, by and through his undersigned counsel, and pursuant to the Federal

Rules of Civil Procedure, respectfully moves the Court to grant Plaintiff leave to file the attached

Second Amended Short Form Complaint. In support of this Motion, movant states as follows:

       1.      A party may amend his or her pleading by leave of the Court, and “[t]he court shall

freely give leave when justice so requires,” Fed. R. Civ. P. 15(a).

       2.      A party may amend the pleadings as may be necessary and “at any time”--“to

conform them to the evidence,” Fed. R. Civ. P. 15(b).

       3.      Plaintiff requests leave to amend the pleadings to conform them to the evidence.

       4.      Plaintiff specifically requests leave to amend the complaint to reflect the correct

date of his implantation of the Cook Gunther Tulip IVC Filter, which is in his sworn responses to

the previously submitted Plaintiff’s Profile Sheet.




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       5.     This is Plaintiff’s first request for leave to amend his complaint and counsel for

Defendants are unopposed to the relief sought herein. The proposed Second Amended Short Form

Complaint is attached as Exhibit “A.”

       6.     A proposed order is attached hereto.


Dated: August 9, 2022.                               Respectfully submitted,

                                                     /s/ Ben C. Martin
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                                                     Thomas Wm. Arbon, TX Bar No. 01284275
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                                                     Attorneys for Plaintiff



                               CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2022, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system which will send notification of such filing to the
CM/ECF participants registered to receive service in this matter. Parties may access this filing
through the Court’s system.

                                                     /s/ Ben C. Martin
                                                     Ben C. Martin




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